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                                                                                  U.S.D.c. Atlanta


                                                                                DEC 1 8 2018


                                                                         By:�
                                                                         JAMES N. HAT
                                                                                     TEN, Clerk

                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION




     UNITED STATES OF AMERICA

            v.


     WAYNE PATTERSON




  THE GRAND JURY CHARGES THAT:


                                       Count One

     On or about July 20, 2018, in the Northern District of Georgia, the Defendant,

  WAYNE PATTERSON, did obstruct, delay and affect commerce by robbery, as

  that term is defined in Title 18, United States Code, Section 1951, by knowingly

  and unlawfully taking and obtaining property from the person and presence of

  an employee of Family Dollar, located at 1830 Highway 138, Conyers, Georgia, a

  business then engaged in and affecting interstate commerce, against the will of

  the employee and customer by means of actual and threatened force, violence,

  and fear of injury, all in violation of Title 18, United States Code, Section 1951(a).


                                       Count Two

     On or about July 20, 2018, in the Northern District of Georgia, the Defendant,

  WAYNE PATTERSON, did knowingly carry and use a firearm during and in

  relation to a crime of violence for which he may be prosecuted in a court of the

  United States, that is, robbery, in violation of Title 18, United States Code, Section

  1951(a), as charged in Count One of this Indictment, and during and in relation
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to commission of the offense, did brandish a firearm, all in violation of Title 18,

United States Code, Sections 924(c)(l)(A) and 924(c)(l)(A)(ii).


                                    Count Three

   On or about July 21, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did obstruct, delay and affect commerce by robbery, as

that term is defined in Title 18, United States Code, Section 1951, by knowingly

and unlawfully taking and obtaining property from the person and presence of

an employee of Dollar General, located at 2779 Lakewood Avenue SW, Atlanta,

Georgia, a business then engaged in and affecting interstate commerce, against

the will of the employee and customer by means of actual and threatened force,

violence, and fear of injury, all in violation of Title 18, United States Code,

Section 1951(a).


                                     Count Four

   On or about July 21, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did knowingly carry and use a firearm during and in

relation to a crime of violence for which he may be prosecuted in a court of the

United States, that is, robbery, in violation of Title 18, United States Code, Section

1951(a), as charged in Count Three of this Indictment, and during and in relation

to commission of the offense, did brandish a firearm, all in violation of Title 18,

United States Code, Sections 924(c)(l)(A) and 924(c)(l)(C)(i).




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                                    Count Five


   On or about July 23, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did obstruct, delay and affect commerce by robbery, as

that term is defined in Title18, United States Code, Section1951, by knowingly

and unlawfully taking and obtaining property from the person and presence of

an employee of Family Dollar, located at 674Highway138, Riverdale, Georgia, a

business then engaged in and affecting interstate commerce, against the will of

the employee and customer by means of actual and threatened force, violence,

and fear of injury, all in violation of Title18, United States Code, Section1951(a).


                                     Count Six


   On or about July 23, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did knowingly carry and use a firearm during and in

relation to a crime of violence for which he may be prosecuted in a court of the

United States, that is, robbery, in violation of Title18, United States Code, Section

1951(a), as charged in Count Five of this Indictment, and during and in relation

to commission of the offense, did brandish a firearm, all in violation of Title18,

United States Code, Sections 924(c)(l)(A) and 924(c)(l)(C)(i).


                                   Count Seven

   On or about July 24, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did obstruct, delay and affect commerce by robbery, as

that term is defined in Title18, United States Code, Section1951, by knowingly

and unlawfully taking and obtaining property from the person and presence of



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an employee of Family Dollar, located at 1245 Veterans Memorial Parkway,

Mableton, Georgia, a business then engaged in and affecting interstate

commerce, against the will of the employee and customer by means of actual and

threatened force, violence, and fear of injury, all in violation of Title 18, United

States Code, Section 1951(a).


                                     Count Eight

   On or about July 24, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did knowingly carry and use a firearm during and in

relation to a crime of violence for which he may be prosecuted in a court of the

United States, that is, robbery, in violation of Title 18, United States Code, Section

1951(a), as charged in Count Seven of this Indictment, and during and in relation

to commission of the offense, did brandish a firearm, all in violation of Title 18,

United States Code, Sections 924(c)(l)(A) and 924(c)(l)(C)(i).


                                     Count Nine

   On or about July 26, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did obstruct, delay and affect commerce by robbery, as

that term is defined in Title 18, United States Code, Section 1951, by knowingly

and unlawfully taking and obtaining property from the person and presence of

an employee of Dollar General, located at 286 Highway 138, Riverdale, Georgia,

a business then engaged in and affecting interstate commerce, against the will of

the employee and customer by means of actual and threatened force, violence,

and fear of injury, all in violation of Title 18, United States Code, Section 1951(a).


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                                     Count Ten


   On or about July 26, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did knowingly carry and use a firearm during and in

relation to a crime of violence for which he may be prosecuted in a court of the

United States, that is, robbery, in violation of Title 18, United States Code, Section

1951(a), as charged in Count Nine of this Indictment, and during and in relation

to commission of the offense, did brandish a firearm, all in violation of Title 18,

United States Code, Sections 924(c)(l)(A) and 924(c)(l)(C)(i).


                                    Count Eleven

   On or about July 27, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did obstruct, delay and affect commerce by robbery, as

that term is defined in Title 18, United States Code, Section 1951, by knowingly

and unlawfully taking and obtaining property from the person and presence of

an employee of Family Dollar, located at 2830 SR-138, Jonesboro, Georgia, a

business then engaged in and affecting interstate commerce, against the will of

the employee and customer by means of actual and threatened force, violence,

and fear of injury, all in violation of Title 18, United States Code, Section 1951(a).


                                   Count Twelve

   On or about July 27, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did knowingly carry and use a firearm during and in

relation to a crime of violence for which he may be prosecuted in a court of the

United States, that is, robbery, in violation of Title 18, United States Code, Section



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1951(a), as charged in Count Eleven of this Indictment, and during and in

relation to commission of the offense, did brandish a firearm, all in violation of

Title 18, United States Code, Sections 924(c)(l)(A) and 924(c)(l)(C)(i).


                                   Count Thirteen

   On or about July 28, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did obstruct, delay and affect commerce by robbery, as

that term is defined in Title 18, United States Code, Section 1951, by knowingly

and unlawfully taking and obtaining property from the person and presence of

an employee of Family Dollar, located at 7132 Tara Boulevard, Jonesboro,

Georgia, a business then engaged in and affecting interstate commerce, against

the will of the employee and customer by means of actual and threatened force,

violence, and fear of injury, all in violation of Title 18, United States Code,

Section 1951(a).


                                  Count Fourteen

   On or about July 28, 2018, in the Northern District of Georgia, the Defendant,

WAYNE PATTERSON, did knowingly carry and use a firearm during and in

relation to a crime of violence for which he may be prosecuted in a court of the

United States, that is, robbery, in violation of Title 18, United States Code, Section

1951(a), as charged in Count Thirteen of this Indictment, and during and in

relation to commission of the offense, did brandish a firearm, all in violation of

Title 18, United States Code, Sections 924(c)(l)(A) and 924(c)(l)(C)(i).




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                                    Count Fifteen

   On or about August 17, 2018, in the Northern District of Georgia, the

Defendant, WAYNE PATTERSON, did obstruct, delay and affect commerce by

robbery, as that term is defined in Title 18, United States Code, Section 1951, by

knowingly and unlawfully taking and obtaining property from the person and

presence of an employee of Citi Trends, located at 3205 Elm Street NE,

Covington, Georgia, a business then engaged in and affecting interstate

commerce, against the will of the employee and customer by means of actual and

threatened force, violence, and fear of injury, all in violation of Title 18, United

States Code, Section 1951(a).


                                   Count Sixteen

   On or about August 17, 2018, in the Northern District of Georgia, the

Defendant, WAYNE PATTERSON, did knowingly carry and use a firearm

during and in relation to a crime of violence for which he may be prosecuted in a

court of the United States, that is, robbery, in violation of Title 18, United States

Code, Section 1951(a), as charged in Count Fifteen of this Indictment, and during

and in relation to commission of the offense, did brandish a firearm, all in

violation of Title 18, United States Code, Sections 924(c)(l)(A) and 924(c)(l)(C)(i).


                                  Count Seventeen


   On or about August 20, 2018, in the Northern District of Georgia, the

Defendant, WAYNE PATTERSON, having been convicted of a crime punishable

by a term of imprisonment exceeding one year, did knowingly possess the



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following firearm in and affecting interstate and foreign cornrnerce: a Lorcin

model L380 pistol, in violation of Title 18, United States Code, Section 922(g)(l).


                                     Forfeiture

   Upon conviction of one or more of the offenses alleged in Counts One, Three,

Five, Seven, Nine, Eleven, Thirteen, and Fifteen of this Indictment, the defendant,

WAYNE PATTERSON, shall forfeit to the United States pursuant to Title 18,

United States Code, Section 981(a)(l)(C) and Title 28, United States Code, Section

2461(c), any property, real or personal, constituting or derived from any proceeds

traceable to the offense(s), including but not limited to the following:

   (a) MONEY JUDGMENT:           A sum of money in United States currency

       representing the amount of proceeds obtained as a result of each offense

       for which the defendant is convicted.

   Upon conviction of one or more of the offenses alleged in Counts Two, Four,

Six, Eight, Ten, Twelve, Fourteen, Sixteen, and Seventeen of this Indictment, the

defendant, WAYNE PATTERSON, shall forfeit to the United States pursuant to

Title 18, United States Code, Section 924(d) and Title 28, United States Code,

Section 2461(c), any firearms and ammunition involved in the offense, including

but not limited to the following: a Lorcin model L380 pistol, bearing serial

number 329326, that law enforcement seized on August 20, 2018.

   If, as a result of any act or omission of a defendant, any property subject to

forfeiture:

      (a) cannot be located upon the exercise of due diligence;

       (b) has been transferred or sold to, or deposited with, a third person;

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                   (c) has been placed beyond the jurisdiction of the Court;

                   (d) has been substantially diminished in value; or

                   (e) has been commingled with other property which cannot be subdivided

                      without difficulty;

          the United States intends, pursuant to Title 21, United States Code, Section

          853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

          forfeiture of any other property of said defendant up to the value of the

          forfeitable property or seek a money judgment against said defendant for any

          amount that would constitute the proceeds of such violation.




               Assistant United States Attorney
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              75 Ted Turner Drive SW
              Atlanta, GA 30303
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